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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

DR. MICHAEL L. STERN,                       )
                                            )
            Plaintiff,                      )
                                            )
      v.                                    ) CASE NO. 3:18-CV-807-WKW
                                            )
AUBURN UNIVERSITY,                          )
                                            )
            Defendant.                      )

                                     ORDER

      On November 21, 2018, Defendant Auburn University filed “Defendant

Auburn University’s Reply and Motion to Dismiss or Strike Amended Complaint.”

(Doc. # 18.) This filing raises new arguments that Plaintiff has not had the

opportunity to address. Accordingly, it is ORDERED that Plaintiff shall file a

response to Defendant’s reply and motion on or before December 21, 2018.

Defendant is permitted to file a reply on or before January 7, 2019.

      DONE this 4th day of December, 2018.

                                          /s/ W. Keith Watkins
                                CHIEF UNITED STATES DISTRICT JUDGE
